        Case 3:18-cr-00049-LRH-CLB Document 191 Filed 04/20/20 Page 1 of 3




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                                UNITED STATES DISTRICT COURT
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                                     DISTRICT OF NEVADA
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11
     UNITED STATES OF AMERICA,                            Case No. 3:18-cr-00049-LRH-CLB
12
                   Plaintiff,                             ORDER APPROVING
13
            v.                                            STIPULATION TO CONTINUE
14                                                        SENTENCING HEARING
     ERIC ROMERO-LOBATO,
15                                                        (FIRST REQUEST)
                   Defendant.
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17
            IT IS HEREBY STIPULATED AND AGREED by and through RENE L.
18
19   VALLADARES, Federal Public Defender and CHRISTOPHER P. FREY, Assistant Federal

20   Public Defender, counsel for ERIC ROMERO-LOBATO and NICHOLAS A. TRUTANICH,
21   United States Attorney, and MEGAN RACHOW, Assistant United States Attorney, counsel for
22
     the UNITED STATES OF AMERICA, that the Sentencing hearing set for May 4, 2020, at 1:30
23
     PM, be vacated and continued for 60 days.
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25          The continuance is necessary for the following reasons:

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        Case 3:18-cr-00049-LRH-CLB Document 191 Filed 04/20/20 Page 2 of 3




 1          1.      This is a joint request by counsel for the Government and counsel for the
 2   Defendant, Mr. Romero-Lobato.
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            2.      The additional time requested by this Stipulation is reasonable pursuant to
 4
     Federal Rule of Criminal Procedure 32(b)(2), which states that the “court may, for good cause,
 5
 6   change any time limits prescribed in this rule.”

 7          3.      Both counsel request this additional time in order to allow adequate time to
 8   research sentencing issues and to prepare for the sentencing hearing.
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            4.      Mr. Romero-Lobato is detained and agrees to the continuance. Specifically, Mr.
10
     Romero-Lobato was informed that the continuance will allow defense counsel to continue to
11
12   gather documents in support of the hearing and provide continuity of counsel.

13          5.      There appears to be no reason why sentencing could not be further delayed, as
14   further delay would not harm the interests of justice (ECF No. 188), and Mr. Romero-Lobato
15
     is still pending trial and a final disposition in Case No. 3:18-CR-0047-LRH-CLB, which is
16
     currently on appeal in the Ninth Circuit Court of Appeals.
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18          6.      This is the first request for continuance of the sentencing hearing.

19          DATED this 17th day of April, 2020.
20
         RENE L. VALLADARES                                 NICHOLAS A. TRUTANICH
21       Federal Public Defender                            United States Attorney

22
      By /s/ Christopher P. Frey                   . By      /s Megan Rachow                 .
23       CHRISTOPHER P. FREY                                MEGAN RACHOW
         Assistant Federal Public Defender                  Assistant United States Attorney
24       Counsel for                                        Counsel for the Government
         ERIC ROMERO-LOBATO
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        Case 3:18-cr-00049-LRH-CLB Document 191 Filed 04/20/20 Page 3 of 3




 1                                            ORDER
 2          Based on the Stipulation of counsel, and good cause appearing,
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            IT IS THEREFORE ORDERED that the Sentencing Hearing currently set for
 4
     May 4, 2020, at 1:30 PM, is VACATED and CONTINUED to Thursday, July 9, 2020, at
 5
 6   1:30 p.m., before District Judge Larry R. Hicks in Reno Courtroom 3.

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            DATED this 20th day of April, 2020.
                                                        This is good LRH signature



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12                                                UNITED STATES DISTRICT JUDGE
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